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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

LARRY BOLOYAN,

       Plaintiff,

v.                                               CASE NO. 8:10-cv-02629-JDW-TGW

PORTFOLIO RECOVERY
ASSOCIATES, LLC,

      Defendant.
_____________________________________/

                          NOTICE OF VOLUNTARY DISMISSAL


               LARRY BOLOYAN (Plaintiff), by his attorneys, KROHN & MOSS, LTD., and

pursuant to FRCP 41(a)(1)(A) (Dismissal of Actions—Voluntary Dismissal By Plaintiff Without

Court Order) voluntarily dismisses, with prejudice, PORTFOLIO RECOVERY ASSOCIATES,

LLC. (Defendant), in this case.




                                                 RESPECTFULLY SUBMITTED,

                                                 By: _/s/ Shireen Hormozdi __________
                                                        Shireen Hormozdi, Esq.
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                                                        KROHN & MOSS, LTD.
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                               CERTIFICATE OF SERVICE

       I, Shireen Hormozdi, certify that a true and correct copy of the foregoing was served via
electronic mail upon the following:

Kevin Duffan, Esq.
Portfolio Recovery Associates
140 Corporate Boulevard
Norfolk, VA 23502
keduffan@portfoliorecovery.com
Attorney for Defendant

Dated: January 24, 2012                   By:/s/ Shireen Hormozdi
                                                Shireen Hormozdi,
                                                 Attorney for Plaintiff




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